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                         Exhibit 3
           De Minimis Cash Debtor Account Listing
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                                                                                                     Last Four Digits of Account
                              Debtor                                            Bank                           Number
                              Name
Alameda Research LLC                                          Prime Trust                                       8169
Alameda Research LLC                                          Silvergate Bank                                   5587
Alameda Research LLC                                          Silvergate Bank                                   6056
Alameda Research Ltd                                          Prime Trust                                       2505
Alameda Research Ltd                                          Prime Trust                                     4016_AU
                                                                                                                 D
Alameda Research Ltd                                          Prime Trust                                    4016_CAD
Alameda Research Ltd                                          Prime Trust                                    4016_GBP
Alameda Research Ltd                                          Prime Trust                                    4016_USD
Alameda Research Ltd                                          Silvergate Bank                                   0006
Alameda Research Ltd                                          Silvergate Bank                                   4464
Blockfolio, Inc.                                              Signature Bank                                    4174
Blockfolio, Inc.                                              Signet                                            4174
Blockfolio, Inc.                                              Wells Fargo                                       3408
Clifton Bay Investments LLC                                   Prime Trust                                       5820
Clifton Bay Investments LLC                                   Signature Bank                                    2677
Clifton Bay Investments Ltd                                   Deltec                                            1400
Crypto Bahamas LLC                                            Signature Bank                                    5171
Digital Custody Inc.                                          Silvergate Bank                                   8406
FTX Digital Assets LLC                                        Signature Bank                                    7717
FTX Lend Inc.                                                 Signature Bank                                    7651
FTX Trading Ltd                                               Prime Trust                                       8563
FTX Trading Ltd                                               Signature Bank                                    9018
FTX Ventures Ltd                                              Signature Bank                                    7872
Good Luck Games, LLC                                          Signature Bank                                    7432
Goodman Investments Ltd                                       Signature Bank                                    2903
Goodman Investments Ltd                                       Signet                                            2903
Hawaii Digital Assets Inc.                                    Signature Bank                                    7068
Hive Empire Trading Pty Ltd                                   Signature Bank                                    3087
Island Bay Ventures Inc.                                      Signature Bank                                    7261
Ledger Holdings Inc.                                          Signature Bank                                    8106
Ledger Holdings Inc.                                          Silvergate Bank                                   1235
LedgerPrime Digital Asset Opportunites Fund, LLC              Signature Bank                                    1315
LedgerPrime Digital Asset Opportunites Fund, LLC              Silvergate Bank                                   9795
LedgerPrime Digital Asset Opportunities Master Fund LP        Signature Bank                                    1323
LedgerPrime Digital Asset Opportunities Master Fund LP        Silvergate Bank                                   0702
LedgerPrime Digital Asset Opportunities Master Fund LP        Silvergate Bank                                   3979
LedgerPrime LLC                                               Signature Bank                                    5377
LedgerPrime LLC                                               Signature Bank                                    5385
LedgerPrime LLC                                               Silvergate Bank                                   1223
LedgerPrime LLC                                               Silvergate Bank                                   3145
Maclaurin Investments Ltd.                                    Deltec                                            5100
Maclaurin Investments Ltd.                                    Prime Trust                                       2872
Maclaurin Investments Ltd.                                    Signature Bank                                    2685
Paper Bird Inc                                                Prime Trust                                       7946
Paper Bird Inc                                                Signature Bank                                    8701
West Realm Shires Financial Services Inc.                     Prime Trust                                       4404
West Realm Shires Financial Services Inc.                     Prime Trust                                       5107
West Realm Shires Inc.                                        Prime Trust                                       5105
West Realm Shires Inc.                                        Prime Trust                                       5371
West Realm Shires Inc.                                        Signature Bank                                    7436
West Realm Shires Services Inc.                               Signature Bank                                    3976
West Realm Shires Services Inc.                               Silvergate Bank                                   1293
West Realm Shires Services Inc.                               Prime Trust                                       4168
West Realm Shires Services Inc.                               Prime Trust                                       5581
West Realm Shires Services Inc.                               Signature Bank                                    2804
West Realm Shires Services Inc.                               Signature Bank                                    7041
West Realm Shires Services Inc.                               Silvergate Bank                                   8589
